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 7
                              UNITED STATES DISTRICT COURT
 8                           WESTERN DISTRICT OF WASHINGTON
                                    SEATTLE DIVISION
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10
     FOTOHAUS, LLC,                                     CASE NO. 2:21-cv-01444
11
                            Plaintiff,                  COMPLAINT FOR OPYRIGHT
12
             v.                                         INFRINGEMENT
13                                                      (INJUNCTIVE RELIEF
     PARATEX PROPERTIES LLC dba                         DEMANDED)
14   PARATEX PEST PREVENTION,
15                          Defendant.
16

17          Plaintiff FOTOHAUS, LLC by and through its undersigned counsel, brings this

18 Complaint against Defendant PARATEX PROPERTIES LLC dba PARATEX PEST
19 PREVENTION for damages and injunctive relief, and in support thereof states as follows:

20
                                     SUMMARY OF THE ACTION
21
            1.     Plaintiff FOTOHAUS, LLC (“Fotohaus”) brings this action for violations of
22
     exclusive rights under the Copyright Act, 17 U.S.C. § 106, to copy and distribute Fotohaus’
23
     original copyrighted Work of authorship.
24

25          2.     Daniel Foster, owner and principal photographer of Fotohaus, has a history of

26 taking highly unique abstract architecture photographs that focus on lines and geometry. His


     COMPLAINT                                      1                                        SRIPLAW
                                                                       21301 POWERLINE ROAD, SUITE 100
                                                                                  BOCA RATON, FL 33433
                                                                          JOEL B. ROTHMAN, 561.404.4350
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     works have been featured 18 times in the highly-coveted “Explore” section of Flickr. More than
 1

 2 86,000 fans follow his work on Instagram. Daniel is a member of the Royal Photographic

 3 Society and Professional Photographers of America. His work has been published online and

 4 offline through a variety of publications, including National Geographic, der Freitag, the World

 5
     Wildlife Fund, and Smithsonian. Daniel licenses his work commercially on a selective basis and
 6
     is currently working to establish himself as a fine art photographer. His prints are available for
 7
     purchase through Saatchi Art.
 8
            3.      Defendant PARATEX PROPERTIES LLC dba PARATEX PEST PREVENTION
 9

10 (“Paratex”) is a pest control services company. At all relevant times herein, Paratex is the owner

11 and operator for the website URL www.paratex.com (the “Website”).

12          4.      Fotohaus alleges that Paratex copied Fotohaus’ copyrighted Work from the
13
     internet in order to advertise, market and promote its business activities. Paratex committed the
14
     violations alleged in connection with Paratex’s business for purposes of advertising and
15
     promoting sales to the public in the course and scope of the Paratex’s business.
16

17                                    JURISDICTION AND VENUE

18          5.      This is an action arising under the Copyright Act, 17 U.S.C. § 501.

19          6.      This Court has subject matter jurisdiction over these claims pursuant to 28 U.S.C.

20 §§ 1331, 1338(a).

21
            7.      Defendant is subject to personal jurisdiction in Washington.
22
            8.      Venue is proper in this district under 28 U.S.C. § 1391(b) and (c) and 1400(a)
23
     because the events giving rise to the claims occurred in this district, Defendant engaged in
24
     infringement in this district, Defendant resides in this district, and Defendant is subject to
25

26 personal jurisdiction in this district.


     COMPLAINT                                         2                                         SRIPLAW
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                                              DEFENDANT
 1
             9.      Paratex Properties LLC dba Paratex Pest Prevention is a Limited Liability
 2

 3 Company, with its principal place of business at 423 S. Horton Street, Seattle, WA 98134, and

 4 can be served by serving its Registered Agent, Jennifer Osborn, at the same address.

 5                              THE COPYRIGHTED WORK AT ISSUE
 6

 7           10.     In 2013, Fotohaus created the photograph entitled Shipping Containers 2, which is

 8 shown below and referred to herein as the “Work”.

 9           11.     Fotohaus registered the Work with the Register of Copyrights on December 31,
10 2013 and was assigned the registration number VA 1-905-231. The Certificate of Registration is

11
     attached hereto as Exhibit 1.
12
             12.     Fotohaus’ Work is protected by copyright but is not otherwise confidential,
13
     proprietary, or trade secrets.
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15           13.     At all relevant times Fotohaus was the owner of the copyrighted Work at issue in

16 this case.

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     COMPLAINT                                        3                                       SRIPLAW
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                                      INFRINGEMENT BY DEFENDANT
 1
             14.     Paratex has never been licensed to use the Work at issue in this action for any
 2

 3 purpose.

 4           15.     On a date after the Work at issue in this action was created, but prior to the filing
 5 of this action, Paratex copied the Work.

 6
             16.     Paratex copied Fotohaus’ copyrighted Work without Fotohaus’ permission.
 7
             17.     After Paratex copied the Work, it made further copies and distributed the Work on
 8
     the internet to promote the sale of goods and services as part of its advertisement for fumigation
 9

10 services.

11           18.     Paratex copied and distributed Fotohaus’ copyrighted Work in connection with

12 Paratex’s business for purposes of advertising and promoting Paratex’s business, and in the

13 course and scope of advertising and selling products and services.

14
             19.     Fotohaus’s Works are protected by copyright but are not otherwise confidential,
15
     proprietary, or trade secrets.
16
             20.     Paratex committed copyright infringement of the Work as evidenced by the
17

18 documents attached hereto as Exhibit 2.
19           21.     Fotohaus never gave Paratex permission or authority to copy, distribute or display

20 the Work at issue in this case.

21
             22.     Fotohaus notified Paratex of the allegations set forth herein on January 28, 2021.
22
     To date, the parties have failed to resolve this matter. A copy of the Notice to Paratex is attached
23
     hereto as Exhibit 3.
24

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     COMPLAINT                                         4                                         SRIPLAW
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                                            COUNT I
 1                                   COPYRIGHT INFRINGEMENT
 2
             23.     Plaintiff incorporates the allegations of paragraphs 1 through 22 of this Complaint
 3
     as if fully set forth herein.
 4
             24.     Fotohaus owns a valid copyright in the Work at issue in this case.
 5

 6           25.     Fotohaus registered the Work at issue in this case with the Register of Copyrights

 7 pursuant to 17 U.S.C. § 411(a).

 8           26.     Paratex copied, displayed, and distributed the Work at issue in this case and made
 9
     derivatives of the Work without Fotohaus’ authorization in violation of 17 U.S.C. § 501.
10
             27.     Paratex performed the acts alleged in the course and scope of its business
11
     activities.
12
             28.     Paratex’s acts were willful.
13

14           29.     Fotohaus has been damaged.

15           30.     The harm caused to Fotohaus has been irreparable.
16           WHEREFORE, the Plaintiff prays for judgment against the Defendant Paratex Properties
17
     LLC dba Paratex Pest Prevention that:
18
             a.      Defendant and its officers, agents, servants, employees, affiliated entities, and all
19
     of those in active concert with them, be preliminarily and permanently enjoined from committing
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21 the acts alleged herein in violation of 17 U.S.C. § 501;

22           b.      Defendant be required to pay Plaintiff its actual damages and Paratex’s profits

23 attributable to the infringement, or, at Plaintiff's election, statutory damages, as provided in 17

24 U.S.C. § 504;

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     COMPLAINT                                         5                                         SRIPLAW
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               c.     Plaintiff be awarded its attorneys’ fees and costs of suit under the applicable
 1

 2 statutes sued upon;

 3             d.     Plaintiff be awarded pre and post-judgment interest; and

 4             e.     Plaintiff be awarded such other and further relief as the Court deems just and
 5
     proper.
 6
                                                JURY DEMAND
 7
               Plaintiff hereby demands a trial by jury of all issues so triable.
 8
     DATED: October 22, 2021                          Respectfully submitted,
 9

10
                                                      /s/ Joel B. Rothman
11                                                    JOEL B. ROTHMAN
                                                      Washington Bar Number: 57717
12                                                    joel.rothman@sriplaw.com
13
                                                      SRIPLAW
14                                                    21301 Powerline Road
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15                                                    Boca Raton, FL 33433
                                                      561.404.4350 – Telephone
16                                                    561.404.4353 – Facsimile
17
                                                      Attorneys for Plaintiff Fotohaus, LLC
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     COMPLAINT                                            6                                         SRIPLAW
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